ms 12 Case 2:99-cr-20269-ng Document 101 Filed 06/02/05 Page 1 of 2 Page| 1
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UNITED sTATEs r)rs'rRlCT COURT am ev / on

 

for 05 JUN -2 AH 8= 1,2
WESTERN DIsTRICT oF TENNESSEE Roberi R. Di Troii@
;§LERK U.S. DIST. CT
U.S.A vs. Alois B. Greer Docket No. Z:QSQR%ZEUAMEMPHB

 

 

Petition on Probation and Supervised Release

COMES NOW Marnie Klvman , PROBATION ()FFICER OF THE COURT presenting an oiiicial
report upon the conduct and attitude of Alois B. Greer , who was placed on probation by the Honorable Ju_h`a
S. Gibbons sitting in the Court at Memphis , Tennessee on thel_§l"'l day of J_uly, M, who fixed the period of
supervision at three g31years, and imposed the general terms and conditions theretofore adopted by the Court and
also imposed special conditions and terms as follows:

l . The defendant shall make restitution in the amount of $3 66,205.56 as directed by the probation oHice.
(balance $3 62,389.76).

Supervised Release began : December 20, 2002.

RESPECTFULLY PRESENTING PE'I`ITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(lf short insert here; if lengthy write on separate sheet and attach)

Alo is B. Greer fits the criteria for early termination recommended by the .l udicial Conference Committee on Criminal
Law. She has made progressive strides toward achieving supervision objectives and appears to pose no risk to
public safety. Ms. Greer has paid $4,315.80 toward her restitution and has made a good faith eli`ort to satisfy her
restitution obligation, however, she has an outstanding balance of $362,389.76. Ms. Greer has entered into an
agreement with the Financial Litigation Unit to continue payments in the amount of $140.80 per month. AUSA
Linda Harris stated she does not object to Ms. Greer receiving early termination

PRAYING THAT THE COURT WILL ORDER that Ms. Greer be discharged ii'om supervision with the
understanding that the U. S. Attomey’s Ofr‘ice will be responsible for the continued collection of restitution

 

ORDER OF COURT Respectfully,
Consi£l_ered and ordered this l 5 l- day ML:¢H=] a o 4
of ~“""`“" 20°_{, and ordered filed Mamie Klyman
and made a part of the records in the above U.S. Probation Oiiicer

CaSe.

 

4 7/… Place= 1\/1emphisq rN

Date: May 20, 2005

 

United States District Judge

This document entered on the docket sheet in §omptlanca
with Ru|e 56 and/or 32(b) FHCrP on ' “

 

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 101 in
case 2:99-CR-20269 was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed

 

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Honorable Julia Gibbons
US DISTRICT COURT

